
47 So.3d 956 (2010)
Denver CURTAIN, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-2417.
District Court of Appeal of Florida, Third District.
November 17, 2010.
*957 Denver Curtain, in proper person.
Bill McCollum, Attorney General, for appellee.
Before GERSTEN, WELLS, and LAGOA, JJ.
PER CURIAM.
Affirmed. See Salazar v. State, 892 So.2d 545, 547 (Fla. 3d DCA 2005) ("If an inmate believes that the Department has not granted correct credit ..., then the inmate must seek relief through inmate grievance procedure.").
